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APPENDIX 7

Declaration of
Donna Jolyn Underwood

Page(s) 094-112

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

ALLIED PILOTS ASSOCIATION,
Defendant.

HON. ELAINE L. CHAO, §
SECRETARY, UNITED STATES §
DEPARTMENT OF LABOR, §
Plaintiff, §

§ CIVIL. NO. 4-05-CV-338-Y
v. §
§
§
§

DECLARATION OF DONNA JOLYN UNDERWOOD

I, Donna Jolyn Underwood, declare the following to be a true and correct
statement of facts:

1. I am presently employed as a Senior Investigator with the United States
Department of Labor (“DOL”), Office of Labor Management Standards (“OLMS”). The
official duties and responsibilities of my current position include investigating labor
unions subject to the Labor Management Reporting and Disclosure Act of 1959
(“LMRDA” or “the Act”), 29 U.S.C. §§ 402(1), (j) and 481 (a). I served as the lead
investigator for OLMS in the investigation of the 2004 national officer election and run-
off election of the Allied Pilots Association (“APA”). The predicate for this investigation
was a complaint filed with OLMS by Captain Mark Hunnibell, a pilot in good standing
with the APA, on October 15, 2004.

2, Pursuant to section 601 of the Act (29 U.S.C. § 521), and in accordance
with section 402(b) of the Act (29 U.S.C. § 482(b)), the DOL investigated the complaint
of Captain Hunnibell. Although OLMS generally has sixty (60) days within which to

complete such investigations, by a series of letters dated October 27, 2004, December 20,

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2004, March 1, 2005, April 7, 2005, and April 22, 2005, the APA agreed that the time
within which the DOL could bring suit with respect to the APA’s election be extended to
May 27, 2005.

3. During the investigation, the APA provided documents to OLMS. Included
in those documents was a copy of the “Allied Pilots Association Appeal Board Ruling In
Re: Election Appeals - July 2004 National Officer Election.” True and correct pages of
that document are attached hereto.

4. Prior to the APA’s 2004 national officer election and run-off election, in
February of 2003, OLMS District Director, Debra Hall, advised APA that the “change
vote” feature of the upcoming national election would likely violate Title IV. A true and
correct copy Debra Hall’s letter is attached hereto.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct to the best of my knowledge and belief.

Executed on this 4 th day of May, 2006.

Donna Jolyn Underwood

Senior Investigator

Department of Labor, Office of
Labor Management Standards

2320 La Branch, Suite 1107

Houston, Texas 77004

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APA APPEAL BOARD RULINGS
NATIONAL OFFICER ELECTION PROTESTS 2004

Attached is the APA Appeal Board Rulings regarding the National Officer Election of
June 2004.

For the Appeai Board:

VAK M Us Gehu b prabe

Captain Peter M. Ward, Member Captain John E. Seski, Member

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> ALLIED PILOTS ASSOCIATION

O'Connell Building - 14600 Trinity Boulevard, Suite 500 + fart Worth, TX 76185-2512 + 817.302.2272 + wwwalliedpilots.org

ee

September 16, 2004

Certified Mail - Return Receipt Requested
Certificate No. 7004 1160 0007 0900 3671
Mark L. Hunnibell

376 Black Rock Tpke

Redding, CT 06896

Re: Appeal Board Election Decision
Dear Mr. Hunnitbell:

Enclosed please find the decision of the APA Appeal Board addressing election
complaints filed regarding the 2004 National Officer Election. According to the APA
Constitution, Article IV, § 6, the Appeal Board serves as the Association’s internal
election appeal body. The election complaints filed in this matter have been reviewed
and a decision has been rendered by a two-member panel of the Appeal Board, composed
of members Captain Peter M. Ward and Captain John E. Seski.

Should you have any questions, please feel free to contact us.

Sincerely,

PAK M Ui Qohw b frabe

Captain Peter M. Ward, Member — Captain John E. Seski, Member

ON BEHALF OF THE APA APPEAL BOARD

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ALLIED PILOTS ASSOCIATION
APPEAL BOARD RULING
IN RE:
ELECTION APPEALS - JULY 2004

NATIONAL OFFICER ELECTION

INTRODUCTION

1. The Election Protests.

The Allied Pilots Association concluded its National Officers election (President,
Vice President, and Secretary Treasurer) on June 22, 2004.’ On July 1, 2004, APA
member Captain Mark Hunnibell protested the election, in which he was defeated for
President by Captain Ralph Hunter. The protest was properly filed within the time limits
prescribed by the APA Constitution and Bylaws, Article IV, Section 6.” Captain
Hunnibell’s July 1 complaint addressed seven categories of alleged violations in an 18

page, single spaced complaint, attaching 98 pages of supporting “appendices”

' APA is a national labor organization with its principal place of business at 14600 Trinity

Boulevard, Fort Worth, Texas 76155. APA has local labor organizations, called domiciles, at
each of the major pilot bases: Dallas-Fort Worth (“DFW”), Chicago (“ORD”), Miami (“MIA”),
Washington, D.C. (“DCA”), Boston (“BOS”), LaGuardia (“LGA”), St. Louis (“STL”), Los
Angeles (“LAX”) and San Francisco (“SFO”). APA elects its national officers through a
referendum election under the control and supervision of the American Arbitration Association
(“AAA”) every three years and its local officers through a AAA supervised referendum election
once every two years on a rolling basis.

2 Article IV, Section 6 provides that APA’s Appeal Board “shall also serve as the
Association’s internal election appeal body. The Appeal Board shall consider all complaints,
protests, or appeal[s] concerning APA’s elections received in writing from any member in good
standing provided they have been received by the Appeal Board within ten (10) days after the
later of the completion of the election or the run-off election .... The Appeal Board shall issue
its written finding or decision as soon as practicable within sixty (60) days of receipt of a written
protest, complaint or appeal.” The Appeal Board received a number of untimely protests
following the election. The Board has considered the July 1 protest in light of these subsequent,

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(“Complaint”). We consider and analyze each allegation below. Although some of the
alleged infractions are closer calls than others, we have not discovered any electoral
violations. Certainly, none of the alleged infractions had any decisive effect on the
national officer election. For all the reasons itemized below in pages 9-55, we therefore
deny Captain Hunnibell’s request to re-run the election.
Captain Hunnibell filed additional, shorter, untimely protests on July 8, July 17,

and August 6, 2004. Although Captain Hunnibell styled these protests “Supplemental
- Detail” to his July 1 Complaint, the latter protests arose from different facts and
circumstances than any cited in the July 1 Complaint, circunistances Captain Hunnibell
makes no claim to have discovered after July 1. Although the Board has viewed the July
1 Complaint in light of the subsequent allegations, the Board formally denies these latter
protests as untimely.

Captain Lloyd Hill filed a protest on June 30, 2004, stating that it “related to APA
responsibility for oversight and reasonable expectation of adherence to [Constitution and
Bylaws] and Policy Manual provisions, and violations for the restrictions and policies
contained therein.” This protest alleged, complained of, and/or protested no other facts,
actions or circumstances, As a result, the Board has found that Mr. Hill did not file any

election complaint that it may reasonably address and has denied the purported protest on
that basis.”

On July 1, 2004, First Officer Todd Wissing filed a letter of protest substantively

identical to Captain Hill’s, and therefore similarly devoid of content. Consistent with the

untimely complaints, discussed herein. Under these circumstances, the Board is issuing this
decision within a time “as soon as practicable” after the 60 day period from the July 1 Complaint.
Captain Hill was notified of the Board’s ruling on his protest by “certified” mail on
August 27, 2004.

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investigation, formed another staple of newsworthy events and separate political
discourse within the Union both before and during the National Officer elections.

3. Election timeline and Candidates

a. Nominations and Election

1/16/04: Notices and required forms mailed to APA membership regarding
nominations;

2/6/04: Deadline for receipt of nomination. forms;

2/13/04: AAA makes available nomination notice and electronic voting

instructions;

3/5/04: AAA deadline for voting in Nomination Round (4 pm);
Nomination Election Results available (5 pm).

The following candidates were nominated:
President:

Robert R. Ames
Mark Epperson
Mark Hunnibell
Ralph Hunter

Vice President:°

Sam Bertling
Robert S. Held
_ Samuel Mayer
Doug Pinion
Mike Rossetti
Greg Shayman

Secretary-Treasurer:

David P. Duquemin
James E. Eaton
David S. Groves
Paul Renneisen

Robert 8. Held and Doug Pinion later withdrew as candidates for Vice President.

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3/12/04:

3/19/04:

5/3/04;

5/24/04:

Deadline for receipt of candidates’ final resumes for mailing by
Union; -

Union’s free mailing of candidates’ campaign resumes for all
candidates;

AAA makes available election notice and electronic voting
instructions;

Deadline for voting in first election round (4 pm), election
results available (5 pm).

No candidate received a majority of votes in the first round, therefore the
following candidates were scheduled for a runoff election:

President:

“Mark Hunnibell
Ralph Hunter

Vice President:

Sam Bertling
Greg Shayman

Secretary-Treasurer:

James E, Eaton
Paul Renneisen

b. Run-off election

6/1/04:

6/3/04:

6/3/04:

6/7/04:

AAA makes available run-off notice and electronic voting .
instructions;

Union facilitated candidate email from Mark Hunnibell, Greg
Shayman and Paul Renneisen (in the name of Mark Hunnibell);

Union facilitated candidate email to members from Ralph Hunter,
Sam Bertling and Jim Eaton (in the name of Ralph Hunter);

Union facilitated candidate email to members from Ralph Hunter,
Sam Bertling and Jim Eaton (in the name of Sam Bertling);

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6/7/04: Union facilitated candidate email to members from Greg Shayman
with references to Recover 2004 campaign of himself, Mark
Hunnibell and Paul Renneisen;

6/9/04: Union facilitated candidate email to members from Paul Renneisen
with references to Recover 2004 campaign of himself, Mark
Hunnibell and Greg Shayman;

6/10/04: Union facilitated candidate email to members from Ralph Hunter,

Sam Bertling and Jim Eaton (in the name of Jim Eaton);

6/15/04: Union facilitated candidate email to members from Ralph Hunter,
Sam Bertling and Jim Eaton (in the name of Sam Bertling),

6/17/04: Union facilitated candidate email from Mark Hunnibell with
references to Recover 2004 campaign of himself, Greg Shayman
and Paul Renneisen;

6/22/04: Deadline for voting in run-off election (4 pm), run-off results
available (5 pm).
c. Results
Ralph Hunter 3812 Mark Hunnibell —-2881
Sam Bertling 3950 Greg Shayman 2722
Jim Eaton 3709 Paul Renneisen 2955

INVESTIGATION AND FINDINGS
1. Witnesses
The Appeal Board met to investigate the above complaints on July 19-22 and
again on August 5-6, 2004. The Board, both in person and through its agents, held
discussions with principally the following individuals who had firsthand knowledge of, or

responsibility for, the factual areas implicated in the July 1 Complaint:

1. Dave Ahles, APA Executive Director
2. Gary Boettcher, DCA Domicile Chairperson
3. Keith Bounds, STL Domicile Chairperson

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4, John Bury, former APA Secretary Treasurer
5. John Darrah, former APA President
6. Bob Dunning, SFO Domicile Vice Chairperson
7. Mark Howard, APA IT Director
8. Edgar James, APA General Counsel

- 9. Rich Moyed, APA Election Administrator
10. James Sovich, BOS Domicile Chairperson
11. Debbie Thom, APA Election Coordinator
12. Gary Weller, APA Appeal Board Chairman
13. Jeff Zaino, AAA Vice President -- Elections
14. Mark Hunnibell, candidate
15. Ralph Hunter, candidate
16. Sam Bertling, candidate
17. James Eaton, candidate

2. Allegations and Findings

We discuss below the seven categories of allegations in Mr. Hunnibell’s July 1
Complaint, and the Board’s findings and analysis regarding each allegation. Before we
begin that itemized consideration, however, we would like to address one over-riding
theme of Captain Hunnibell’s protest. The vast majority of these allegations involve
issues of free speech protected under the LMRDA Labor Bill of Rights. In its
investigations into these allegations, the Board is troubled by Mr. Hunnibell’s persistent
contention that issues of relevance — indeed burning significance — to the union should be
off limits for discussion by union officers before and during an election. This type of
prohibition would hamstring union officers in the performance of their legal duties and
undermine their fundamental free speech rights as union members.

Further, the interpretation of election law implicit in much of Captain Hunnibell’s
protest would allow a candidate to inoculate whole subjects from union comment during
an election, simply by raising a topic in his or her campaign. Such an interpretation of
the LMRDA would not only leave a union and its officers mute and defenseless against

any and all critics (even where those officers are not candidates), but more importantly,

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would deprive union members of the very free and robust debate that the LMRDA was
designed to protect.

The July 1 Complaint.

I, APA PRESIDENT JOHN DARRAH USED UNION RESOURCES TO
“POISON THE WELL.”

Captain Hunnibell cites eight communications in which he alleges that APA
President John Darrah used union resources to “identify and discredit those whom he
believed to be candidates in upcoming elections” and/or to “create an environment”
where the campaign rhetoric of one group of candidates would be “most effective.” We
address each communication individually.

k. June 2003 blast e-mail. Hunnibell alleges that “John Darrah named First Officer Greg
Shayman in an APA e-mail publicly convicting him of a variety of improper
activities ....”

The Board finds that on June 9, 2003, President Darrah sent a short e-mail to APA
members (attachment #1) notifying them that “numerous e-mail messages” falsely
appearing to originate from APA over the past several days contained a virus, and that
“apparently” a PDP member, Greg Shayman, was the origin of the e-mails. Former
President Darrah reports to this Board that he had been notified by pilots receiving the
infected e-mails and that the APA IT department had identified Greg Shayman as the
origin of the infected messages by viewing the email header and by tracing his internet
protocol address.° The IT department was also aware that Shayman had downloaded the
e-mail addresses of a number of APA members from the APA website over the previous

year, and that therefore the virus could and most likely did distribute itself to many APA

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APA IT Director Mark Howard stated that it was relatively easy to trace the origin of the
virus back to Mr. Shayman’s account because he used a high speed connection and the Internet
Protecol addresses on those type of accounts are somewhat static.

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Labor in order to shore up any election concerns centered on C&R, the Board finds that

the removal of hotlinks to C&R is in no way an election violation.

IV. DECISION BY THE APA SECRETARY-TREASURER TO ALLOW
MEMBERS TO CHANGE THEIR VOTES.

1. Mr. Hunnibell alleges that the DOL objected to APA’s voting system

Mr. Hunnibell makes several charges regarding one feature of the voting system.
Mr. Hunnibell charges that the DOL warned APA that having the AAA allow members
the ability to change their vote might violate DOL secrecy requirements. He further
charges that he does “not believe it is a coincidence” that his opponents notified members
of this voting feature in their campaign materials.

Mr. Hunnibell does not explain what non-coincidental relationship he sees
between someone at the AAA possibly being able to tell how members voted, and his
opponents notifying people they could change their vote. We see none. We do not
believe that anyone at AAA looked to see how individuals voted, if they could. We do
not believe, and see absolutely no evidence suggesting, that anyone at AAA was
conspiring with Mr. Hunnibeil’s opponents to somehow use any such possible knowledge
against him.

The voting system at APA which allows members to change their votes during the
election period was first implemented with the advent of electronic voting for the DFW
May 2002 domicile election. Electronic voting with appropriate encryption safeguards
has been administered at the APA by the AAA since that time. The Board believes that
allowing members to change their votes until the c lose of the election increases v oter

interest throughout the election, as well as turnout. After a pilot votes, if new information

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becomes available, or something happens that affects their view of the candidates, they
are free to change their vote up to the election deadline. In the 2004 national election at
issue here, AAA reports that 272 members changed their votes in the run-off election,
which is only 3.8% of the votes cast,

Sometimes, this “change vote” feature of the voting system has been helpful in
ensuring fairness at APA, such as in ratification elections where the opposition needed to
be able to read, understand and develop counter-materials to a proposed tentative
contract. Even if a dissident candidate did not get his/her materials to the electorate until
late in the ratification period, the materials could still be fully effective because the
members who had already voted could change their votes m light of the opposition’s
arguments.

The Board also believes that Mr. Hunnibell is over-stating the DOL's caution
regarding the “change vote” feature. APA had informed the DOL that they had intended
to use this system for the upcoming election. DOL's February 11, 2004 ietter was a
response to APA's notification, and the letter's intent was to inform the union ofa
potential problem with a system that allowed a voter to change their vote. The DOL is
aware of and allows internet and/or telephone voting systems. The DOL had been
informed by APA well in advance that the union intended to utilize this system, and was
advising them of potential pitfalls to avoid and precautions that should be taken to insure
a fair and legal election. However, Mr. Hunnibell only quotes certain lines of this letter,
and distorts its meaning.

2. AAA says there was a link between vate and voter until the election was certified.

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Since the institution of electronic voting at APA there have been a total of 10
domicile and one national election at APA.” Previous to Mr. Hunnibell’s complaint,
there is no record of any member voicing or filing a complaint related to electronic voting
or the ability to change one’s vote during the voting period. Further, the February 11,
2004 DOL letter stated that there was only a “potential” problem with the system, since it
would “appear” that such a system had to link voter and vote in a way that would make
the link known to someone, in this case, the AAA.

The AAA, however, encrypts this link. Consequently, there does not appear to be
any violation of the anonymity requirement. In fact, the AAA system electronic ballot
avoids the potential, and obvious remote problem of a physical link between vote and
voter by eliminating the paper ballot and its potential for physical linkage by comparing
the contents of the ballot envelope to a voter list. This introduces an additional layer of
security via the electronic barrier of ballot encryption. Similar to the essential
requirement of a mail-in ballot system, the AAA keeps one separate list of "who voted",
as is required by law to insure a fair and legal election, and further separates that list by a
layer of electronic encryption, making it even more difficult (and thus more secure) to

determine "who voted for whom."”? Mr. Hunnibell creates confusion and distorts

* AAA has been conducting electronic elections since 2000. To date, AAA has overseen 55

electronic elections. See Email from Jeff Zaino, September 14, 2004 re: APA Query.

2 By contrast, in a mail-in ballot system, a voter must place his/her marked ballot in a self-
addressed envelope, Any individual who opens the ballot, by reading its contents, would know
“exactly who voted for whom.” This is avoided in a mail-in system by a disinterested.third party
checking the names and other identifying features on the exterior of the envelopes against the
eligible voter list. This list, coupled with the ballot envelope, as defined by Mr. Hunnibell's
complaint, is a link between vote and voter. By law, this "link" must be retained to insure only
individuals on the eligible voter list partake in the election. A second disinterested third party
tallies the contents of the envelopes (hopefully, in an accurate manner) for each of the respective
candidates. There is nothing preventing either party from communicating with the other about
the contents of the envelopes, i.e. "exactly who voted for whom”, other than the integrity of the
two participating parties.

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Finally, Mr. Hunnibell’s allegations that Mr. Moyed refused to respond to his
complaints about the use of Mr. Hunnibell’s and other’s statements from C&R in
campaign materials is also without merit. As Election Administrator, Mr. Moyed could
not review the contents of a candidate’s election communications. This is an APA policy
that is driven by LMRDA mules. Indeed, Mr. Hunnibeil advised Mr. Moyed of this
precise prohibition when APA objected to an earlier misuse of APA’s mailing list by
another national candidate.”* Although use of the statements complained of may bea
violation of APA’s Acceptable Use policy for the C&R, such use does not implicate the
LMRDA and is consequently not an election concern. The proper complaint channel for
Mr. Hunnibell in this matter would have been an internal APA Constitution and Bylaws

Article VII action.”°

VH. ASERIES OF BALLOTING IRREGULARITIES CALL INTO QUESTION
THE VALIDITY OF THE RESULTS.

1. Many ballots/PIN envelopes sent by AAA were never received by APA
members.

Mr. Hunnibell complains that several members never received their ballot/PINs
from AAA. Upon investigation, the Board learned that both APA and AAA were aware
of this problem. During the course of the election AAA reissued PINs to 354 members in
the national election and 524 members in the run-off election by a member's specific
request. One hypothesis for this number of PIN requests is that it is due to pilots being a

very transient group; the job requires them to be away from their homes, or any specific

8 See Letter to Richard Moyed from Mark L. Hunnibell, dated March 4, 2004, re: campaign
mailings. “As I cited in my earlier letter, this entitlement [of a candidate to mail literature to the
membership] even includes the right to mail material the union may consider to be libelous,
because the union has a statutory obligation to provide for such mailing.”

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mailing address, periodically, and in the case of much international flying, for long
periods of time. For many, the domicile where they report for work is distant from their
home, requiring air travel. Many of those requesting PINs may simply not have been
present at their mailing address during the time frame between the arrival of the PIN and
the election deadline. The number of PIN requests increases somewhat in proportion to
the number of voters in each phase of the election. It should be noted that AAA reported
that of the reissued PINs, 354 in the general election, and 524 in the runoff, only 2 and 1
respectively, were issued as replacements for lost PINS. None of the 134 PINs reissued
by AAA in the nomination round were for lost PINs. The Appeal Board is not pleased
with the number of duplicates that were issued in this election, but due to well-known and
well-established procedures for obtaining another PIN if a member lost or did not receive
the original, the Board is convinced that the security of the election was not
compromised. Members who wished to exercise their right to vote were not prevented
from doing so, therefore this complaint is without ment.

Under APA policy, when a member contacted Debbie Thorn, APA Election
Coordinator, regarding a PIN problem, she told him/her to call AAA. The direct hotline
to AAA for reporting problems with PINs, etc. was also posted on all election materials
sent to members, in all election materials posted in every domicile, on APA’s website,
and in Flightline, the official magazine of APA members. It was published as part of an
APA Hotline message and sent out in e-mail blasts by the domicile representatives to
their constituents in all domiciles except one. It was also frequently published in
candidate emails and mailings. If the member called AAA, they could receive their PIN

- via email. If there was sufficient time, AAA would send the PIN via U.S. mail. In the

Article VIIis the internal APA mechanism for bringing charges against a member.

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last days of the election period, a member could receive a PIN via phone from AAA
providing they could provide the proper verification information previously mentioned.
Due to these multiple avenues for getting a PIN if a member lost or did not receive one,
the Board is convinced that the election outcome was in no way impacted.

2. At least 3 Members received PINS of other members.

Mr. Hunnibell also cites three incidents where members received the PINs of
other members. However, these appear to be isolated incidences which could not impact
the ‘outcome of the election. Consequently, this complaint is found to be without merit,

Upon investigation, it was learned that this problem was brought to the attention
of APA staff. During the course of the 2004 elections, the Election Coordinator, Ms.
Thom, recalls that about five people reported being mailed someone else’s PIN in
addition to their own. When alerted to this problem, Ms. Thorn immediately reported it
to AAA and requested that they mail another PIN to the correct individual. In addition,
Ms. Thorn contacted Mr. Jeff Zaino, APA’s representative at AAA, to report the problem
and have him investigate the matter. Mr. Zaino did investigate the problem and reported
to APA that the mailing house used by AAA to mail the PINs had experienced
difficulties with their envelope sealant so that some mailers had gotten stuck to each other
and been mailed out attached to the top envelope. However, the mailing house monitored
the number of envelopes metered in each batch versus the number of envelopes
reportedly provided by the APA in each batch, and would have noticed any large
discrepancy with the APA mailing.

A vote in the AAA system can only be cast by using both the PIN and an

employee ID number. Thus, simply having access to a PIN number would not be

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sufficient to cast another individual’s vote. Moreover, should a vote be cast by another
individual with access to a member’s PIN, that member would be aware of such an action
when he/she attempted to vote.

The ability to access employee ID numbers on the APA website does exist, so
there is a possibility that an individual could cast a vote if he or she had both the PIN and
employee ID number. In recognition of this problem, the Board has investigated how
many votes were actually changed. In the 2004 national election, there were only 249
changed votes in the run-off election and 240 changed votes in the first national election.
Even presuming that all of these votes were somehow orchestrated by some individual as
last minute changes from candidate Hunnibell to candidate Hunter, the changed votes
would still not have affected the ultimate outcome of the election because Mr. Hunter
won the election by a margin of 3812 to 2881, a total of 931 votes. Although the faulty
mailing of PINS was an unfortunate problem that must be corrected in the future, we find
that its relative rarity could not affect the election — even in the extremely unlikely worst
case scenario - and there is no evidence that eligible voters were prevented from voting,
therefore we find no violation under the LMRDA.

3. AAA elections system allows access to results as votes are being cast/before ballot
box closes and therefore it is possible that someone can gain information about who
voted for whom.

Mr. Hunnibell’s contention that by allowing access to results as votes are being
cast the AAA election system creates a security concern because it 1s theoretically
possible for someone to enter the system to gain information about who voted for whom
is inaccurate, misleading, and purely speculative. The Board has consulted with AAA
regarding Mr. Hunnibell’s claims and found that they are both generally unfounded and

inapplicable to this election.

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aS nn, PPenalx “T: Original ComplainvEvidence Filed by Mark Hunnibelt

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or A, PA National Officer Election Complaint Detail — Mark Hunnibell — 7/1/2004

U.S, Department of Labor — "Employment Standards Administration
4 : '  _ Gtlieg of Labor-Management Stancants
Se, , ' . Dallas District Oftice
oe : A. Maceo Smith Federal Building —
Hy a _ , 525 South Griffin Street, Room 300
vost . st . . °° Dales, Texas 7202.
4 moon, ' {872) 650-2500 / FAX: {872} 850-2501

Sem Via Email and Regular Mail
a! February } 1. 2004

Richard Moved, Election Administrator
\Alied Pilots Association ‘.
@ Connell Building
14600 Trinity Boulevard
Suite 500
- Fort Worth, TX 76155-2512

Re: IntemmevTelephone Voting
Dear Mr. Moyed, '

oe ‘This is in further reference to the upcoming election of officers of the Allied Pilots Association.
You have advised that the american Arbitration Association (AAA) will be conducting the

at election by phone end/ar internet voting and that such a system allows # voter to change his or her
vote during the election period. 1 wanted to alert you to 2 potential problem with allowing for vote
changes in # phone and/or intemet voting system. tt would appear that such a sysiem would have
to link the voter and his or ber vote in order to pennit amy vote change. A link berween the vouer
and his or her voie would violate the secrecy requirements of Title TV of the Labor-Management
Reporting and Disclosure Act of 1959, as amended (LMRDA). The LMEDA requires 2 member's
vote be cast in such a manner that the person expressing 2 choice cannot be identified with the
choice expressed. Atno time should the identity of the voter be linked or conpected to the votes
that he or she casis. H does not matier that a third party, such as AAA, as opposed to the union, is
manazing the voting System. |

Please contact me if you wish to discuss this or any other issue concerning the upcoming election.

Debra 1. Hall

Cc: johWD: ayrah
APA President

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